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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MALEEHA AHMAD, et al.,                         )
                                               )
                         Plaintiffs,           )
                                               )
       v.                                      )       No. 4:17-cv-2455 CDP
                                               )
CITY OF ST. LOUIS, MISSOURI,                   )
                                               )
                         Defendant.            )


  CONSENT MOTION FOR LEAVE TO DESIGNATE A NEUTRAL NOT CERTIFIED BY THE COURT

       Pursuant to E.D.Mo. L.R. 6.03(B)(2), the parties ask this Court for leave to designate

Roger L. Goldman, who is not on the list of certified neutrals maintained by the Court, to act as

the neutral for mediation in this case. In support, they state:

       1. On November 15, 2017, this Court referred this matter for mediation. ECF No. 59.

       2. The parties are required to designate a neutral no later than December 15, 2017. Id.

       3. After consultation, the parties wish to designate Roger L. Goldman as the neutral in

            this case.

       4. Mr. Goldman is not on the list of certified neutrals maintained by this Court.

       5. Local Rule 6.03(B)(2) provides that the “[p]arties must file a motion for leave to

            designate a neutral not on the list of certified neutrals maintained by the Court. The

            motion must include the reason for the selection of the neutral.”

       6. The Rule anticipates that leave to designate a neutral who has not been certified may

            be appropriate where the proposed neutral “has special subject matter expertise

            germane to a particular case.”




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     7. Mr. Goldman has special subject matter expertise germane to this particular case. He

        is the Callis Family Professor of Law Emeritus at Saint Louis University School of

        Law, where he taught law from 1971-2014. His courses included criminal procedure,

        constitutional law, civil procedure and federal courts. Moreover, Mr. Goldman is the

        nation’s foremost expert on police licensing and license revocation laws as a way to

        address serious misconduct by law enforcement officers. For more than three

        decades, he has helped states (including Missouri, Illinois and Indiana) write and

        adopt laws that provide for removing the state license of an officer who engages in

        serious misconduct such as excessive force and sexual misconduct. He served on a

        National Working Group on Sexual Offenses by Police Officers organized by the

        International Association of Chiefs of Police, which published a guide for police

        executives titled Addressing Sexual Offenses and Misconduct by Law Enforcement.

        His suggestion in the December 2014 issue of Police Chief Magazine that the federal

        government become a co-sponsor of the IADLEST NDI (a databank that tracks

        decertified officers) became a recommendation of the President’s Task Force on 21st

        Century Policing. He is currently a member of an IADLEST working group that

        focuses on improving the NDI. For three years, he taught the basic law course at the

        St. Louis Police Academy.

     8. Although not on the list of certified neutrals maintained by this Court, Mr. Goldman

        has experience as a neutral, including serving as permanent arbitrator for the US

        Postal Service and American Postal Workers Union; as neutral member of the appeals

        committee, National Electrical Contractors Association and the International

        Brotherhood of Electrical Workers Local 1; as a grievance arbitrator for the St. Louis



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           Public Schools and the St. Louis Teachers’ Association; as a fact-finder in a dispute

           between the University City Board of Education and the University City Teachers’

           Association; and as a mediator for the Jewish Federation of St. Louis.

WHEREFORE the parties request leave to designate Roger L. Goldman as mediator in this case

despite his absence from the list of certified neutrals maintained by this Court.


                                                      Respectfully submitted,

                                                      /s/ Anthony E. Rothert
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                                   Certificate of Service

      A copy of the foregoing filed via CM/ECF and thereby made available to all counsel of

record on December 8, 2017.



                                                 /s/ Anthony E. Rothert




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